                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION

KAREN MCNEIL, et al.,                              )
                                                   )
     Plaintiffs,                                   )
                                                   )
v.                                                 )          NO. 1:18-cv-00033
                                                   )
COMMUNITY PROBATION                                )          JUDGE CAMPBELL
SERVICES, LLC, et al.,                             )          MAGISTRATE JUDGE FRENSLEY
                                                   )
      Defendants.                                  )


                                              ORDER

         In his Order (Doc. No. 229) of February 21, 2019, the Magistrate Judge granted Plaintiffs’

 request to extend the deadline for moving to amend or add parties to April 1, 2019, in order to

 allow Plaintiffs to substitute a class representative for Sandra Beard, who Plaintiffs represent is

 now unavailable for medical reasons. Given the possibility that the individuals who seek to proceed

 as class representatives may change if Plaintiffs are permitted to replace Ms. Beard, the Court

 concludes the pending Motion for Class Certification (Doc. No. 36) should be DENIED, without

 prejudice to refiling after the identity of class representatives has been finalized. The Magistrate

 Judge shall set new deadlines for the filing of a motion for class certification, as well as

 Defendants’ responses, and Plaintiffs’ reply. Accordingly, Plaintiffs’ Motion to Amend Deadlines

 Relating to Plaintiffs’ Motion for Class Certification (Doc. No. 230) and PSI Defendants’ Motion

 for Extension of Time to Respond to Plaintiffs’ Motion for Class Certification (Doc. No. 232) are

 DENIED, as moot. Defendants’ Motions (Doc. Nos. 28, 31) to hold the class certification motion

 in abeyance until the initial case management conference are also DENIED, as moot.




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       Plaintiff Hilfort’s Motion in Limine to Prohibit Examination of Probationers Beyond the

Scope of Count 15 of Plaintiffs’ First Amended Complaint (Doc. No. 169) is also MOOT, as no

witnesses were called at the preliminary injunction hearing.

       It is so ORDERED.

                                                    ____________________________________
                                                    WILLIAM L. CAMPBELL, JR.
                                                    UNITED STATES DISTRICT JUDGE




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